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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________
                                          :
XIXIANG YANG, LILING LIU, and QIQI XU,    :
individually and derivatively on behalf of:
Nominal Defendant                         :
GR SUPPLY CHAIN MANAGEMENT INC.,          :   Civil Action No.1:17-CV-02577
                                          :
                  Plaintiffs,             :   PLAINTIFFS’ SUR-REPLY
                                          :   MEMORANDUM OF LAW
      -against-                           :   IN FURTHER OPPOSITION TO
                                          :   DEFENDANTS’ MOTION FOR
ZHIYU LUO,                                :   SUMMARY JUDGMENT
                                          :
                  Defendant,              :
      -and-                               :
                                          :
GR SUPPLY CHAIN MANAGEMENT INC.           :
                                          :
                  Nominal Defendant.      :
__________________________________________:




 PLAINTIFFS’ SUR-REPLY MEMORANDUM OF LAW IN FURTHER OPPOSITION
         TO DEFENDANTS’ MOTION FOR SUMMARY JUDGEMENT
                     AND DISCOVERY SANCTIONS
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Plaintiffs Xixiang Yang, Liling Liu and Qiqi Xu, (collectively “Plaintiffs”) individually and derivatively

on behalf of Nominal Defendant GR Supply Chain Management Inc., (hereinafter “GR Supply” or the

“Corporation”) respectfully submit this memorandum of law in opposition to Defendant Zhiyu Luo’s

(hereinafter “Defendant” or “Luo”) motion for summary judgment and discovery sanctions, pursuant to

Fed. R. Civ. P. 56 and Fed. R. Civ. P. 37.

        DEFENDANTS REQUEST FOR SANCTIONS IS BASELESS AND UNWARRANTED

          Defendant’s reply memorandum, failed to address the motion for Rule 37 sanctions against

Plaintiff’s counsel. The decision was not because Defendant satisfied its burden, instead it failed to

address the motion for sanctions because it could not. Unfortunately for Defendant, silence is not a viable

option. "The party seeking Rule 37 sanctions bears the burden..." Markey, 2015 U.S. Dist. LEXIS

112915, 2015 WL 5027522, at 16 (internal quotation marks omitted). Defendant’s motion contained

serious accusations against Plaintiff’s counsel and the commission of acts that is “improper and unethical

for an attorney.”1 Now, after being pressed to point to the record and substantiate these claims, Defendant

chooses to bury its head in the sand. This is unacceptable. More than mere puffery, Ms. Wong’s

accusations carry the potential for serious ramifications. Ms. Wong has openly made false accusations

against an officer of the court. Accordingly, Ms. Wong should be judged by her own convictions.

          Contrary to what is posed in Defendant’s reply memorandum, Mr. Kelley did speak to the

accusations presented in Defendant’s motion for sanction. In doing so, Mr. Kelley made a clear showing

that those accusations were misrepresentations of fact and lies concocted by Ms. Wong for illegitimate

purposes. On the other hand, Ms. Wong has failed to substantiate her claims and attempts to sweep it

under the rug by not addressing the issue. Ms. Wong’s silence speaks volumes.

                 DEFENDANT HAS CAUSED DISCOVERY TO BE UNAVAILABLE




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        To be clear - Defendant’s counsel did not produce the Defendant Luo’s personal bank records

“very close to the end of discovery.” Ms. Wong produced the documents (approximately 300 pages) on a

Friday afternoon, with discovery due to close the following Monday, essentially leaving Plaintiffs no time

to review and prepare for the deposition. It is utterly ridiculous that Ms. Wong suggests the documents

were prevented timely, and even more preposterous that she expects the court to take her at her word that

the documents were innocuous. The mere fact that Ms. Wong and the Defendant went as far as to lie

about the existence of the accounts suggests the importance of the evidence.

                      DEFENDANT HAS FAILED TO MEET “ITS” BURDEN

        Pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment should be

granted “if the movant shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” Defendant cannot meet this burden and instead attempts to

muster up a procedural remedy to compensate for its inability to succeed on the merits.

        The premise of Defendant’s argument is flawed and nonsensical. First, Defendant argues that

because Plaintiffs did not dispute the facts presented in Defendant’s Rule 56.1 statement or provide

additional material facts for which there exists a genuine issue, that it has satisfied its burden and made a

showing that there were no genuine disputes as to any material fact. Further, Defendant’s Rule 56.1

Statement did not speak to the causes of action present in this litigation and the respective elements of

each claim.

        To adopt Defendant's’ argument would lead to a ridiculous, absurd, impractical and certainly

unjust conclusion. For example, had Defendant’s Rule 56.1 statement merely stated, “The sky is blue”

and ended there, certainly Plaintiffs would not dispute it. However, the color of the sky has no bearing on

whether Defendant breached his fiduciary duties or whether Defendant committed corporate waste. To

grant Defendant summary judgment on those claims merely because there was no material dispute as to

the color of the sky would be absurd. Similarly, placing the onus on Plaintiffs to then present every

material fact in dispute would effectively place the moving-party’s burden on the non-movant. The
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burden is on the moving party to present its argument along with relevant undisputed material facts that

supports its argument. The Defendant has failed to meet this burden.

             Finally, Defendant argues that deficiencies with Plaintiff’s Rule 56.1 Statement in support of its

cross-motion for summary judgment renders defendant's motion "not properly made."2 Even if true, it is

well established that the Court has wide discretion to consider a summary judgment motion regardless of

a party's compliance with the local rules. See Madison Maidens, Inc. v. Am. Mfrs. Mut. Ins. Co., No. 05

Civ. 4585, 2006 U.S. Dist. LEXIS 39633, 2006 WL 1650689, at 2 (S.D.N.Y. June 15, 2006). Moreover,

the purpose of Rule 56.1 statements is to identify the relevant evidence supporting the material facts, and

"to assist the court in determining which facts are genuinely undisputed." Id. Here, strict compliance with

Local Rule 56.1 is not required for the Court to identify the material facts, as those facts have already

been identified by Plaintiffs in its Rule 56.1 Statement and opposition memo. See, e.g., Carney, 19 F.3d at

812. Thus, whether Plaintiffs’ opposition to Defendant’s motion for summary judgment had been

properly made will be considered by the Court.

                  THE FEDERAL CAUSES OF ACTION SHOULD NOT BE DISMISSED

          a. SECTION 10(B) AND 12(A)(1) CLAIMS

             Defendant argues that the Section 12 and 10(b) claims relating to the sale of unregistered

securities should be dismissed. The premise of Defendant’s argument is that Plaintiff Yang solicited the

investments from the other Plaintiffs. For support the Defendant cites to Statement 44 of Defendant’s

Rule 56.1 Statement stating, “Mr. Yang told the other two plaintiffs to invest in GR Supply.” In addition

to being poorly drafted, that statement alone does not establish that Yang solicited investments, and

requires the Court to make a leap in logic to arrive at the conclusion that Plaintiff Yang solicited the

investments. It is well settled that encouragement for a buyer to purchase securities does not create

liability under § 12 (1) or establish "control person" liability. Silva Run Worldwide Ltd. v. Gaming



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    Id.
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Lottery Corp., et al., (S.D.N.Y. 1998). Furthermore, Defendant has not raised any argument with regard to

the sale of unregistered securities from Defendant Luo to Plaintiff Yang.

    b. PLAINTIFFS’ CLAIMS ARE NOT TIME BARRED

         Defendant argues that the causes of action based upon Defendant Luo’s sale of unregistered

securities is time barred pursuant to 15 U.S.C. §77m. In its argument, Defendant points out that 15 U.S.C.

§77m is a statute of repose, not a statute of limitations. Nonetheless, the statute does not bar Plaintiff’s

claim.


         The Plaintiff’s claims were brought timely. As stated in Defendant’s Reply Memo, the statute

provides “[i]n no event” shall an action be brought more than three years after the securities offering on

which it is based. 15 U.S.C. § 77m. While it is undisputed that the Company was incorporated on April

11, 2014 and Defendant asserts that the Company was legally dissolved in March 2016, and attentive eye

will notice a glaring omission – the date on which the offering occurred. As per § 77m, the timing for the

statute begins from the time of the offering. In the instant action, that time is unknown due to Defendant’s

failure to register the securities, submit a Form D filing, provide the shareholders with stock certificates,

maintain a stock ledger, or even order a corporate kit.

         Defendant argues that the claims are time-barred, but has failed to even provide the date on which

the clock begins to run. Moreover, Defendant’s inability to provide such date is due to Defendant’s own

misconduct and breach of the fiduciary duties commensurate with his position.

    c. Defendant’s Fraud and conversion of Plaintiffs’ stock

         While private placements offerings are unregistered, they are not immune from the federal

securities laws. Section 12(a)(1) of the Securities Act provides for a private cause of action to persons

who have been aggrieved by an unregistered offering of securities, private or otherwise, by placing a

general prohibition on the sale of unregistered securities. Barring proof of an applicable exemption,




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section 12(a)(1) provides for strict liability against one who offers or sells a security in violation of

section 77e.

        Defendant has failed to address the 2015 tax filing which reports that Defendant Luo owns 100%

of the Corporation’s stock. For that to be the case, there had to have been a transaction which executing

the sell and transfer of Plaintiffs’ securities to Defendant Luo. However, Plaintiffs’ were not privy to this,

and in fact never acquiesced to such a transaction. It logically follows that Defendant Luo committed

fraud (and conversion) in his acquisition of those securities from Plaintiffs’.

                                              CONCLUSION

Summary judgment is an extraordinary form of relief. Accordingly, Rule 56(a) of the Federal Rules of

Civil Procedure places an equally heavy burden on the moving party to show that such relief is warranted.

Defendant’s arguments have the strength or paper machete and are unsupported by the facts, which must

be viewed in a light favorable to the non-moving party. Accordingly, Defendant’s motion should be

denied in all respects.




Dated: October 27, 2017

        New York, New York


                                                           Kelley & Associates PLLC



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